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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Meta Platforms, Inc., et al.,                        No. CV-20-00470-PHX-GMS
10                   Plaintiffs,                          ORDER
11   v.
12   Namecheap Incorporated, et al.,
13                   Defendants.
14
     WhoisGuard, Inc.,
15
                    Counterclaimant,
16
     v.
17
     Meta Platforms, Inc.,
18
                    Counterclaim Defendant.
19
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21
             The Court has been advised that this case has settled (Doc. 187).
22
             IT IS THEREFORE ORDERED that this matter will, without further Order of
23
     this Court be dismissed with prejudice within (30) days of the date of this Order unless a
24
     stipulation to dismiss is filed prior to the dismissal date.
25
             IT IS FURTHER ORDERED denying all pending motions as moot.
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     / / /
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     / / /
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      Case 2:20-cv-00470-GMS Document 188 Filed 03/08/22 Page 2 of 2



 1         IT IS FURTHER ORDERED directing the Clerk of Court to terminate this matter
 2   on April 8, 2022 without further leave of Court.
 3         Dated this 8th day of March, 2022.
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